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                                      EXHIBIT A

                                        Order




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                                             Chapter 15

NEXII BUILDING SOLUTIONS INC., et al., 1                           Case No. 24-10026

                      Debtors in a Foreign Proceeding.             (Joint Administration Requested)


                     ORDER SCHEDULING RECOGNITION HEARING AND
                  SPECIFYING FORM AND MANNER OF SERVICE OF NOTICE

         Upon the motion (the “Motion”) of Nexii Building Solutions Inc. as the authorized foreign

representative (the “Foreign Representative”) of the above-captioned debtors (collectively,

the “Debtors”), seeking entry of an order (this “Order”): (a) scheduling a hearing on the relief

sought in the Verified Petition; (b) setting the deadline by which any responses or objections to

the Verified Petition must be received; and (c) specifying the form and manner of service of notice

of the hearing on the relief sought in the Verified Petition; the Court having jurisdiction to consider

the Motion and the relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334, and 11 U.S.C.

§§ 109 and 1501 and the Amended Standing Order; and that this Court may enter a final order

consistent with Article III of the United States Constitution; venue being proper before the Court

pursuant to 28 U.S.C. § 1410(1) and (3); adequate and sufficient notice of the filing of the Motion

having been given by the Foreign Representative; it appearing that the relief requested in the

Motion is necessary and beneficial to the Debtors; and no objections or other responses having




1        The Debtors in these chapter 15 cases (the “Chapter 15 Cases”), along with the last four digits of each
         Debtor’s unique identifier, are Nexii Building Solutions Inc. (0911), Nexii Construction Inc. (1333), NBS IP
         Inc. (9930), and Nexii Holdings Inc. (5873). The Debtors’ service address for purposes of these Chapter 15
         Cases is 1455 West Georgia Street, #200, Vancouver, British Columbia V6G 2T3.


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been filed that have not been overruled, withdrawn, or otherwise resolved; and after due

deliberation and sufficient cause appearing therefor, it is hereby ORDERED that:

           1.           The Motion is granted as set forth herein.

           2.           A hearing on the relief requested in the Verified Petition is scheduled for

 [              ], at             .m. (prevailing Eastern Time), or as soon thereafter as counsel shall be

 heard, in Courtroom [●] of the United States Bankruptcy Court for the District of Delaware,

 Delaware, 824 N. Market Street, Third Floor, Wilmington, Delaware 19801.

           3.           The form of notice of the Recognition Hearing in substantially the form attached

 hereto as Exhibit 1 (the “Recognition Hearing Notice”), including as modified for publication, is

 hereby approved.

           4.           The Publication Notice, substantially in the form attached hereto as Exhibit 2,

 is hereby approved.

           5.           Service of the Recognition Hearing Notice in accordance with this Order is hereby

 approved as adequate and sufficient notice and service on all interested parties.

           6.           Prior to mailing the Recognition Hearing Notice and publishing the Publication

 Notice, the Foreign Representative may fill in any missing dates and other information, correct

 any typographical errors, conform the provisions thereof to the provisions of this Order, and make

 such other and further changes as the Foreign Representative deems necessary or appropriate,

 provided that such changes do not materially abridge the substance of such notices.

           7.           All notice requirements specified in section 1514(c) of the Bankruptcy Code and

 Local Rule 9013-1(m), with respect to the service of the Notice Documents, are hereby waived or

 otherwise deemed inapplicable to these cases.

           8.           The Foreign Representative shall serve, or cause to be served, the Recognition



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 Hearing Notice by electronic mail to the extent email addresses are available and otherwise by

 United States or Canadian mail, first-class postage-prepaid, on parties on the Master Service List

 within three (3) business days following entry of this Order and the Provisional Order, or as soon

 thereafter as practicable. To the extent email addresses are available, the Foreign Representative

 shall serve copies of the Notice Documents with the Recognition Hearing Notice by electronic

 mail on parties on the Master Service List.

           9.        Unless otherwise ordered by the Court, the Foreign Representative shall serve, or

 cause to be served, the Notice Documents and all other papers filed by the Foreign Representative

 after the date hereof by the Foreign Representative in these Chapter 15 Cases on the Core Notice

 Parties, including any party requesting to be a Core Notice Party, by electronic mail to the extent

 email addresses are available and otherwise by United States or Canadian mail, first-class postage-

 prepaid.

           10.       Responses or objections to recognition of the CCAA Proceedings as foreign main

 proceedings or the Verified Petition and the relief requested therein must (i) be in writing;

 (ii) detail the factual and legal basis for the response or objection; (iii) comply with the Bankruptcy

 Code, the Bankruptcy Rules, and the Local Rules of Bankruptcy Practice and Procedure of the

 United States Bankruptcy Court for the District of Delaware (the “Local Rules”); and (iv) be filed

 with the Office of the Clerk of the Court, 824 N. Market Street, Third Floor, Wilmington, Delaware

 19801, and served upon the following counsel so as to be received at least seven (7) days prior to

 the Recognition Hearing: (i) Barack Ferrazzano Kirschbaum & Nagelberg LLP, 200 West

 Madison Street, Suite 3900 Chicago, Illinois 60606, Attn: Nathan Rugg; and (ii) Pachulski

 Stang Ziehl & Jones LLP, 919 North Market Street, 17th Floor, Wilmington, Delaware 19801,

 Attn: Steven Golden and Colin Robinson.




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           11.       Notwithstanding any applicability of any Bankruptcy Rules, the terms and

 conditions of this Order shall be immediately effective and enforceable upon its entry.

           12.       The Foreign Representative is authorized to take all actions necessary to effectuate

 the relief granted pursuant to this Order in accordance with the Motion.

           13.       This Court shall retain exclusive jurisdiction to hear and determine all matters

 arising from or related to the implementation, interpretation and/or enforcement of this Order.




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                                          EXHIBIT 1

                                  Notice of Recognition Hearing




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                                             Chapter 15

NEXII BUILDING SOLUTIONS INC., et al., 1                           Case No. 24-10026

                      Debtors in a Foreign Proceeding.             (Joint Administration Requested)



                               NOTICE OF RECOGNITION HEARING
                            ON FOREIGN RECOGNITION PROCEEDINGS

         PLEASE TAKE NOTICE that on January 11, 2024, Nexii Building Solutions Inc., as

the authorized foreign representative (the “Foreign Representative”) of the above-captioned

debtors (collectively, the “Debtors”), which are the subject of jointly-administered proceedings

(the “CCAA Proceedings”) under the Companies’ Creditors Arrangement Act, R.S.C. 1985, c. C-

36 (as amended, the “CCAA”) in the Supreme Court of British Columbia (the “Canadian Court”),

filed a Verified Petition for (I) Recognition of Foreign Main Proceedings, (II) Recognition

of Foreign Representative, and (III) Related Relief Under Chapter 15 of the Bankruptcy Code

(the “Verified Petition”) pursuant to sections 1504, 1515, and 1517 of title 11 of the United States

Code (the “Bankruptcy Code”) with the United States Bankruptcy Court for the District of

Delaware (the “Court”).

         PLEASE TAKE FURTHER NOTICE that, among other things, the Debtors seek entry

of an order recognizing the CCAA Proceedings as foreign main proceedings pursuant to

section 1517 of title 11 of the Bankruptcy Code and granting certain additional relief pursuant to

sections 105(a), 1507, 1510, 1515, and 1521 of the Bankruptcy Code.


1        The Debtors in these chapter 15 cases (the “Chapter 15 Cases”), along with the last four digits of each
         Debtor’s unique identifier, are Nexii Building Solutions Inc. (0911), Nexii Construction Inc. (1333), NBS IP
         Inc. (9930), and Nexii Holdings Inc. (5873). The Debtors’ service address for purposes of these Chapter 15
         Cases is 1455 West Georgia Street, #200, Vancouver, British Columbia V6G 2T3.


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         PLEASE TAKE FURTHER NOTICE that the Court has scheduled a hearing with

respect to the Verified Petition (the “Recognition Hearing”) for [●] [a./p.]m. (prevailing

Eastern Time) on [●], 2024.

         PLEASE TAKE FURTHER NOTICE that contemporaneously with filing the petitions

for recognition, the Foreign Representative filed the Motion for Provisional Relief Pursuant to

Section 1519 of the Bankruptcy Code [Docket No.           ] (the “Provisional Relief Motion”).

         PLEASE TAKE FURTHER NOTICE that on January [●], 2024, the Bankruptcy Court

entered the Order Granting Provisional Relief Pursuant to Section 1519 of the Bankruptcy Code

[Docket No.         ] (the “Provisional Order”), which granted, on a provisional basis, recognition of

the CCAA Proceedings and gives effect in the United States to the initial order entered in the

CCAA Proceedings (the “Initial CCAA Order”), which, among other things:

    •    authorizes the Foreign Representative to operate the Debtors’ businesses and administer
         the Debtors’ assets on a provisional basis;

    •    prohibits contract and lease counterparties from terminating their contracts or agreements
         with the Debtors solely because of the Debtors’ bankruptcy; and

    •    prevents parties from taking actions against the Debtors and their assets.

         PLEASE TAKE FURTHER NOTICE that responses or objections to recognition of the

CCAA Proceedings as foreign main proceedings, or the Verified Petition and the relief requested

therein must: (i) be in writing; (ii) detail the factual and legal basis for the response or objection;

(iii) comply with the Bankruptcy Code, the Bankruptcy Rules, and the Local Rules of Bankruptcy

Practice and Procedure of the United States Bankruptcy Court for the District of Delaware

(the “Local Rules”); and (iv) be filed with the Office of the Clerk of the Court, 824 N. Market

Street, Third Floor, Wilmington, Delaware 19801, and served upon the following so as to be

received at least seven (7) days prior to the Recognition Hearing: counsel for the Foreign

Representative (a) Barack Ferrazzano Kirschbaum & Nagelberg LLP, 200 West Madison Street,


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Suite 3900 Chicago, Illinois 60606, Attn: Nathan Rugg; and (b) Pachulski Stang Ziehl & Jones

LLP, 919 North Market Street, 17th Floor, Wilmington, Delaware 19801, Attn: Steven Golden

and Colin Robinson.

         PLEASE TAKE FURTHER NOTICE that copies of the Verified Petition, the

Provisional Relief Motion, the Provisional Relief Order, and other documents filed by the Foreign

Representative may be obtained by visiting the Court’s website at http://www.ecf.deb.uscourts.gov

(a PACER login and password are required to retrieve a document) or upon written request to the

Foreign Representative’s United States counsel addressed to: (i) Barack Ferrazzano Kirschbaum

& Nagelberg LLP, 200 West Madison Street, Suite 3900 Chicago, Illinois 60606, Attn: Nathan

Rugg; and (ii) Pachulski Stang Ziehl & Jones LLP, 919 North Market Street, 17th Floor,

Wilmington, Delaware 19801, Attn: Steven Golden and Colin Robinson.

         PLEASE TAKE FURTHER NOTICE that hearings in this matter, including the

Recognition Hearing, shall take place at the United States Bankruptcy Court for the District of

Delaware, 824 N. Market Street, [●] Floor, Wilmington, Delaware 19801.

         PLEASE TAKE FURTHER NOTICE that at such hearing the Court may order the

scheduling of a case management conference to consider the efficient administration of these

Chapter 15 Cases.

         PLEASE TAKE FURTHER NOTICE that your rights may be affected. You should

read the Verified Petition carefully and discuss it with your attorney, if you have one in

connection with these Chapter 15 Cases. If you do not have an attorney, you may wish to

consult one.

         PLEASE TAKE FURTHER NOTICE that if you do not want the Court to grant the relief

requested by the Foreign Representative, or if you want the Court to consider your views on any



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matter requested at the Recognition Hearing, then you or your attorney must attend such hearing.

If you or your attorney do not take these steps, the Court may decide that you do not oppose the

relief sought by the Foreign Representative and may enter an order granting the relief requested.

          PLEASE TAKE FURTHER NOTICE that the Foreign Representative does not currently

intend to conduct a claims process in these Chapter 15 Cases. To the extent there is a claims process

established in the CCAA Proceedings, parties are directed to the CCAA Proceedings, Vancouver

Registry No. [●]. Accordingly, there is no need to file proofs of claim in these Chapter 15 Cases.

Parties     are     directed      to   the   Monitor’s    website    for   the    CCAA    Proceedings   at

www.ksvadvisory.com/experience/case/Nexii for information on filing proofs of claim and the CCAA

Proceedings.

                                  [Remainder of page intentionally left blank.]




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Dated: January 11, 2024               PACHULSKI STANG ZIEHL & JONES LLP


                                      /s/ Steven W. Golden
                                      Steven W. Golden (DE Bar No. 6807)
                                      Colin R. Robinson (DE Bar No. 5524)
                                      Brooke E. Wilson (pro hac vice pending)
                                      919 North Market Street, 17th Floor
                                      Wilmington, Delaware 19899-8705
                                      Tel: 302-652-4100
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                                      crobinson@pszjlaw.com
                                      bwilson@pszjlaw.com

                                      -and-

                                      BARACK FERRAZZANO KIRSCHBAUM
                                      & NAGELBERG LLP

                                      Nathan Q. Rugg (pro hac vice pending)
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                                      John Andreasen (pro hac vice pending)
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                                      Attorneys for Foreign Representative




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                                       EXHIBIT 2

                                    Publication Notice




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                                             Chapter 15

NEXII BUILDING SOLUTIONS INC., et al., 1                           Case No. 24-10026

                      Debtors in a Foreign Proceeding.             (Joint Administration Requested)



                               NOTICE OF RECOGNITION HEARING
                            ON FOREIGN RECOGNITION PROCEEDINGS

        PLEASE TAKE NOTICE that on January 11, 2024, Nexii Building Solutions Inc.
and the above-captioned debtors (collectively, the “Debtors”) commenced proceedings (the
“CCAA Proceedings”) under the Companies’ Creditors Arrangement Act (the “CCAA”) in the
Supreme Court of British Columbia (the “Canadian Court”). On January 11, 2024, Nexii Building
Solutions Inc., as authorized Foreign Representative (the “Foreign Representative”) for the
Debtors, filed petitions for relief (the “Petitions”) under chapter 15 of the United States Bankruptcy
Code. Parties can obtain a copy of all documents filed electronically in the Chapter 15 Cases by
visiting the Court’s website at http://www.ecf.deb.uscourts.gov (a PACER login and password are
required to retrieve a document) and in the CCAA Proceedings by visiting
www.ksvadvisory.com/experience/case/Nexii.

        PLEASE TAKE FURTHER NOTICE THAT contemporaneously with filing the
Petitions, the Foreign Representative filed a verified petition seeking recognition of the Canadian
Proceeding as foreign main proceedings [Docket No.          ] (the “Verified Petition”).

       PLEASE TAKE FURTHER NOTICE that on [●], 2024, the Bankruptcy Court entered
the Order Granting Provisional Relief Pursuant to Section 1519 of the Bankruptcy Code [Docket
No. ], granting provisional, injunctive, and related relief.

        PLEASE TAKE FURTHER NOTICE that the Bankruptcy Court has scheduled a hearing
for [_: ] a.m./p.m. on [     , 2024] to consider approval of the Verified Petition and related relief
on a final basis (the “Recognition Hearing”).

       PLEASE TAKE FURTHER NOTICE that any party in interest wishing to submit a
response or objection to the Verified Petition must do so in accordance with the Bankruptcy Code,
the Federal Rules of Bankruptcy Procedure, and the Local Rules of Bankruptcy Practice and
Procedure of the United States Bankruptcy Court for the District of Delaware, and such response
or objection must be in writing and set forth the basis therefor, which response or objection must

1        The Debtors in these chapter 15 cases (the “Chapter 15 Cases”), along with the last four digits of each
         Debtor’s unique identifier, are Nexii Building Solutions Inc. (0911), Nexii Construction Inc. (1333), NBS IP
         Inc. (9930), and Nexii Holdings Inc. (5873). The Debtors’ service address for purposes of these Chapter 15
         Cases is 1455 West Georgia Street, #200, Vancouver, British Columbia V6G 2T3.


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   be filed with the Office of the Clerk of the Bankruptcy Court, 824 North Market Street, 3rd Floor,
   Wilmington, Delaware 19801, and shall be served upon the following counsel so as to be actually
   received on or before 4:00 p.m. (prevailing Eastern Time) on [ ], 2024: (i) Barack Ferrazzano
   Kirschbaum & Nagelberg LLP, 200 West Madison Street, Suite 3900 Chicago, Illinois 60606,
   Attn: Nathan Rugg; and (ii) Pachulski Stang Ziehl & Jones LLP, 919 North Market Street, 17th
   Floor, Wilmington, Delaware 19801, Attn: Steven Golden and Colin Robinson.

           PLEASE TAKE FURTHER NOTICE that all parties in interest opposed and wishing to
   object to the Verified Petition must appear at the Recognition Hearing as set forth herein.

          PLEASE TAKE FURTHER NOTICE that the Recognition Hearing may be adjourned
   from time to time without further notice other than a notice on the docket in these cases or an
   announcement in open court of the adjourned date or dates of any adjourned hearing.

           PLEASE TAKE FURTHER NOTICE that all parties wishing to appear at the
   Recognition Hearing remotely must, in accordance with the eCourt Appearances Effective January
   2, 2024, register using the eCourtAppearances tool found on the court’s website at
   https://www.deb.uscourts.gov/ecourt-appearances by no later than 4:00 p.m. (prevailing
   Eastern Time) one business day prior to the Recognition Hearing for remote attendance. At
   the same time, you must notify the counsel listed above of your intent to appear remotely at the
   Recognition Hearing.

          PLEASE TAKE FURTHER NOTICE that, if no response or objection is timely filed
   and served as provided above, the Bankruptcy Court may grant the relief requested by the Foreign
   Representative without further notice or hearing.

   Dated: January 11, 2024

PACHULSKI STANG ZIEHL & JONES LLP                    BARACK FERRAZZANO KIRSCHBAUM
Steven W. Golden (DE Bar No. 6807)                   & NAGELBERG LLP
Colin R. Robinson (DE Bar No. 5524)                  Nathan Q. Rugg (pro hac vice pending)
Brooke E. Wilson (pro hac vice pending)              Alexander F. Berk (pro hac vice pending)
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